                    1:15-cv-01447-MMM # 74               Page 1 of 2
                                                                                                                       E-FILED
AO 458 (Rev. 06/09) Appearance of Counsel                               Wednesday, 16 November, 2016 10:56:52 AM
                                                                                      Clerk, U.S. District Court, ILCD
                                     UNITED STATES DISTRICT COURT
                                                            for the
                                              Central District
                                             __________          of__________
                                                        District of Illinois

                    Sandra Brown, et al.                       )
                             Plaintiff                         )
                                v.                             )       Case No.     15-1447-MMM
                     Angela Locke, et al.                      )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendants, Angela Locke, et al.                                                                                .


Date:          11/16/2016                                                                  /s Leigh J. Richie
                                                                                           Attorney’s signature


                                                                                  Leigh J. Richie, ARDC No. 6317284
                                                                                       Printed name and bar number
                                                                                   Illinois Attorney General's Office
                                                                                  100 W. Randolph Street, 11th Floor
                                                                                           Chicago, IL 60601

                                                                                                 Address

                                                                                        Lrichie@atg.state.il.us
                                                                                             E-mail address

                                                                                            (312) 814-3877
                                                                                            Telephone number

                                                                                            (312) 814-4452
                                                                                              FAX number
         1:15-cv-01447-MMM # 74          Page 2 of 2
                              UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF ILLINOIS



             Sandra Brown, et al.               )
                   Plaintiff                    )
                      v.                        )     Case No. 15-1447-MMM
             Angela Locke, et al.               )
                  Defendant                     )


                                    CERTIFICATE OF SERVICE

I certify that on _______________,
                   11/16/2016      I electronically filed the foregoing with the Clerk of the

Court using the CMECF system which will send notification of such filing to the following:

 attorneys of record
_____________________________________________________________________________,

and I certify that I have mailed by the United States Postal Service the document to the following

non CMECF participants:

_____________________________________________________________________________.




                                                             /s Leigh J. Richie
                                                            Attorney’s signature

                                                    Leigh J. Richie, ARDC No. 6317284
                                                       Printed name and bar number
                                                     Illinois Attorney General's Office
                                                    100 W. Randolph Street, 11th Floor
                                                             Chicago, IL 60601

                                                                  Address

                                                           Lrichie@atg.state.il.us
                                                               E-mail address

                                                              (312) 814-3877
                                                             Telephone number

                                                              (312) 814-4452
                                                                Fax number




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